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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

DANIEL HAAK, individually and
behalf of all others similarly situated,

       Plaintiff,                              Civil Action No.

       v.                                      COMPLAINT AND
                                               JURY DEMAND
Generac Power Systems, Inc.,

       Defendant.


                           CLASS ACTION COMPLAINT

       1.     Plaintiff Daniel Haak (“Plaintiff” or “Mr. Haak”) individually and on

behalf of the other members of the Nationwide Class defined below ( the “Class”)

brings this Class Action Complaint (the “Complaint”) against Defendant Generac

Power Systems, Inc. (“Defendant” or “Generac”) seeking redress and remedy

arising from Generac’s design, manufacture, marketing, and distribution of the

SnapRS 801 switch (“SnapRS 801 switch”), a residential solar energy system

component that is defective and malfunctions by turning on and off repeatedly,

eventually deforming and melting during normal use.

       2.     Generac designed, manufactured, marketed, and distributed to

Plaintiff and Class Members the defective SnapRS 801 switch which

malfunctioned, causing decreased energy production or completely impeding

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energy production from Plaintiff’s and Class Members’ residential solar energy

systems. In some cases, the defective SnapRS 801 switch deformed, melted,

and/or caught fire during normal use, causing property damage to Plaintiff’s and

Class Members’ solar energy systems and property.

      3.     Generac knew that the SnapRS 801 switch was defective as early as

April 2021 and continued to manufacture, market, and distribute SnapRS 801

switches, incorporating SnapRS 801 switches as components in Generac’s

residential solar energy systems.

      4.     Despite this knowledge, Generac failed to notify Plaintiff and Class

Members that the SnapRS 801 switch was defective and could impede the

production of energy from Plaintiff’s and Class Members’ residential solar energy

systems and that the SnapRS 801 switch posed serious safety hazards.

      5.     Additionally, Generac failed to timely provide replacement switches

that would allow Plaintiff’s and Class Members’ residential solar energy systems

to function properly, efficiently, and safely.

      6.      Generac failed to compensate Plaintiff and Class Members for

electrical bills incurred as a result of their residential solar energy systems not

functioning properly and at full efficiency when these solar energy systems, if

functioning properly, would have generated electrical power for most, if not all,

the electrical power for the Plaintiff’s and Class Members’ home energy needs.


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      7.     Generac designed, manufactured, marketed, and distributed the

defective SnapRS 801 switches to Plaintiff and Class Members without informing

them that the SnapRS 801 switches were defective and could reduce or completely

impede energy production from their residential solar energy systems; could

deform, melt, and/or catch fire during normal use; and, cause damage to Plaintiff’s

and Class Members’ solar energy systems and property.

      8.     Plaintiff and Class Members were unaware that the SnapRS 801

switches, which they purchased as part of their residential solar energy systems,

were defective and could reduce or completely impede home energy production

from their residential solar energy systems; could deform, melt, and/or catch fire

during normal use; and, cause damage to Plaintiff’s and Class Members’ solar

energy systems and homes.

      9.     Plaintiff and Class Members suffered damages as a result ofGenerac’s

misrepresentations and omissions regarding the SnapRS 801 switch. Plaintiff and

Class Members would not have purchased residential solar energy systems

equipped with SnapRS 801 switches and solar contractors would not have installed

solar energy systems in Plaintiff’s and Class Members’ homes if the defects and

potential safety hazards of the SnapRS 801 switches had been disclosed and

mitigated.




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      10.    Plaintiff and similarly situated Class Members are entitled to

compensation for their losses, including losses related to 1) the costs for replacing

the SnapRS 801 switches in their residential solar energy systems when those costs

were not covered by Generac; 2) the costs for troubleshooting Plaintiff’s and Class

Members’ residential solar energy systems when the defective SnapRS 801

switches caused other components to turn off or malfunction; 3) electrical bills

incurred as a result of their residential solar energy systems not functioning

properly and at full efficiency as a result of the SnapRS 801 switches decreasing or

completely impeding energy production from Plaintiff’s and Class Members’

residential solar energy systems; and 4) damage to Plaintiff’s and Class Members'

residential solar energy systems and/or property as a result of the SnapRS 801

switches melting, deforming, and/or catching fire.

      11.    Plaintiff makes these allegations upon personal knowledge as to

himself and his own acts, and as to all other matters upon information and belief.

                                     PARTIES

Plaintiff

      12.    Plaintiff Daniel Haak (“Mr. Haak” or “Plaintiff”) is a citizen of

Florida and a resident of Lake Wales, Polk County, Florida.




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      13.    In July 2020, Mr. Haak contracted to have a residential solar energy

system installed on his home in Polk County, Florida that included 56 solar panels

equipped with 56 Generac SnapRS 801 switches.

      14.    Mr. Haak’s residential solar energy system was designed and built to

provide 100% of his home energy needs during full sunlight.

      15.    Mr. Haak’s residential solar energy system is equipped with a battery

to store energy and supply that energy to his home for approximately 24 hours

when there is not full sunlight.

      16.    Following the installation, multiple Generac SnapRS 801 switches on

Mr. Haak’s solar energy system malfunctioned, causing decreased energy

production and requiring Mr. Haak to pay for electrical power that would have

been generated by his solar energy system had the SnapRS 801 switches

functioned properly.

      17.    Upon information and belief, the original 56 Generac SnapRS 801

switches were replaced with 56 Generac SnapRS 801A switches.

      18.    While this work was performed, it was discovered that several of the

original SnapRS 801 switches were deformed, melted and/or had caught fire.

      19.    In addition, one of the two inverters was damaged and had emitted

smoke.




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      20.    The newly installed Generac SnapRS 801A switches also

malfunctioned, causing decreased energy production and requiring Mr. Haak to

pay for electrical power that would have been generated by his solar energy system

had the SnapRS 801A switches functioned properly.

      21.    Upon information and belief, the 56 Generac SnapRS 801A switches

were then replaced with 56 Generac SnapRS 802 switches.

      22.    Upon information and belief, the defective SnapRS 801 switches

caused other components in Mr. Haak’s residential solar energy system to shut off

or malfunction, despite the installation of the allegedly fully functional SnapRS

802 switches.

      23.    To date, Mr. Haak’s residential solar energy system does not function

properly and at full efficiency, due to the defective Generac SnapRS 801 switches

that were previously installed.

      24.    Mr. Haak has paid in excess of $7,000 to his electrical services

provider for energy that would have been produced by his residential solar energy

system had the Generac SnapRS 801 switches functioned properly.

      25.    The functionality of the residential solar system, of which the Generac

SnapRS 801 switches were a component part, was the reason Mr. Haak proceeded

with the purchase of the residential solar system.




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      26.    Had Mr. Haak been aware of the problems with the Generac SnapRS

801 switches and the inability of a system outfitted with those switches to function

properly, as intended and as advertised, he would not have purchased the system,

or would have purchased it on different terms.

Defendant

      27.    Defendant Generac Power Systems, Inc. (“Generac” or “Defendant”)

is a Wisconsin corporation with a principal place of business located at

S45W29290 State Road 59, Waukesha, WI 53189-9071. Generac is registered to

do business in this state, and does business in this district in a systematic and

continuous fashion, through numerous authorized dealers and contractors (solar

energy system installers) throughout the district.

                          JURISDICTION AND VENUE

      28.    This Court has subject matter jurisdiction pursuant to 28 U.S.C. §

1332(d) because at least one Class Member is of diverse citizenship from Generac,

there are more than 100 Class Members, and the aggregate amount in controversy

exceeds $5,000,000 exclusive of costs and interest.

      29.    This Court also has supplemental jurisdiction pursuant to 28 U.S.C. §

1367 over Plaintiff’s state law claims and claim pursuant to the Magnuson-Moss

Warranty Act, 15 U.S.C. § 2301, et seq.




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       30.   This Court has personal jurisdiction over Generac because Generac’s

contacts with the State of Florida are systematic, continuous, and sufficient to

subject it to personal jurisdiction in this Court. Specifically, Generac purposefully

availed itself of the privilege of conducting business in the forum state by

advertising and selling its PWRcell solar energy and battery storage systems,

which included the SnapRS 801 switch at issue, within the forum state.

Additionally, Generac has maintained systematic and continuous business contacts

within the forum state (including with its authorized solar energy system dealers

and contractors within the State) and is registered to conduct business in the State.

       31.   Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)

because a substantial part of the events and/or omissions giving rise to Plaintiff’s

claims occurred within this District. Generac has marketed, advertised, and sold

the PWRcell solar energy and battery storage systems, which included the SnapRS

801 switch at issue, and otherwise conducted extensive business within this

District.

       32.   Plaintiff Daniel Haak, as well as many other Class Members,

purchased their PWRcell solar energy and battery storage systems, which included

the SnapRS 801 switch at issue, from Generac authorized dealers and solar

contractors located in this District.

                      FACTS COMMON TO ALL COUNTS


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Generac PWRcell solar energy systems and the SnapRS 801 switch

      33.     Generac is a publicly traded manufacturer of energy and energy

storage products and equipment.

      34.     Generac represents itself as having experience and expertise in

manufacturing energy and storage products and equipment, including battery

storage systems, inverters, optimizers, disconnect switches, and other solar energy

system components.

      35.     Plaintiff and Class Members purchased one or more defective SnapRS

801 switches as part of their residential solar energy systems.

      36.     Generac represented to Plaintiff and Plaintiff’s residential solar

contractors and Class Members and Class Members’ solar contractors that its

PWRcell solar energy and battery storage systems were safe, fit for the purpose for

which they were intended, and that Generac was experienced and skilled in

designing and manufacturing such products.

      37.     As detailed herein, in the course of its business, Defendant concealed

and suppressed material facts concerning the Snap RS 801 switches, including that

the switches had common design defects by turning on and off repeatedly when the

switches should be either in the “on” or “off” state, which condition generates heat

in the SnapRS 801 switches causing them to melt, deform, and/or catch fire during

normal use.


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      38.    Plaintiff and Class Members had no way of discerning that

Defendant’s representations were false and misleading, and that Defendant had

made omissions because the malfunctioning SnapRS 801 switches could only be

detected by solar contractors or persons with industry expertise.

      39.    Plaintiff and the Class members who purchased solar energy systems

equipped with the SnapRS 801 switches would not have purchased them if the

defects and safety hazards of the SnapRS 801 switches had been disclosed.

      40.    Plaintiff’s and Class Members’ solar contractors were authorized

Generac dealers.

      41.    Plaintiff’s and Class Members’ solar contractors relied on Generac’s

representations and/or omissions and supplied Generac PWRcell solar energy and

battery storage systems equipped with SnapRS 801 switches to third-party

consumers, including Plaintiff and Class Members.

      42.    Plaintiff and Class Members relied on Generac’s representations

and/or omissions and agreed to purchase and have installed in their homes the

Generac PWRcell solar energy and battery storage systems equipped with SnapRS

801 switches.

      43.    Generac PWRcell solar energy and battery storage systems

incorporated the SnapRS 801 switch, more fully known as the Generac SnapRS

Rapid Shutdown Inline Disconnect Switch, which is a device designed to be


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installed between each photovoltaic module (“PV module” or solar panel) allowing

rapid shutdown initiated via the inverter or a remote shutdown switch.

      44.    Rapid shutdown is required by the National Electrical Code (NEC) as

a way to de-energize a residential solar panel system.

      45.    Generac designed, manufactured, marketed, and distributed its

SnapRS 801 switch as a way to satisfy rapid shutdown compliance for solar energy

storage systems.

      46.    To comply with the NEC’s Rapid Shutdown requirements, a single

SnapRS 801 switch was installed between each PV module (solar panel) to protect

against lightning and other electrical surges, particularly in situations where

emergency responders needed to access a roof equipped with a solar energy system

where electric shock could result in serious injury, death, and/or damage to

equipment and property.

      47.    With a SnapRS 801 switch installed for each PV module (solar panel)

on a residential solar energy system, a system with 50 PV modules (solar panels)

would have 50 SnapRS 801 switches.

      48.    In most cases, a homeowner’s solar energy system will include

“arrays” of approximately 8 solar panels, with each array connected to a PV link

which conducts the electrical energy to the inverter and then supplied to the home.




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      49.    For homeowners with solar energy systems connected to wireless

internet, the system is capable of electronically communicating information to

Generac related to system output, errors, and battery status.

      50.    Generac is also capable of sending software updates and other

information to customers’ solar energy systems that are connected to the internet.

Generac became aware of defects and safety hazards associated with the
SnapRS 801 switch as early as April 2021 and has failed to notify Plaintiff and
the vast majority of Class Members.

      51.    In April 2021, a nationwide solar contractor, Power Home Solar, LLC

d/b/a Pink Energy (“PHS”) discovered a melted SnapRS 801 switch during a

service call for customers in Cincinnati, Ohio who had complained of decreased

energy production from their residential solar energy system.

      52.    PHS immediately reported this issue to Generac and provided

Generac with photos of the melted SnapRS 801 switches.

      53.    In August 2021, another solar installer, Valley Solar, informed

Generac that the SnapRS 801 switches were experiencing a high failure rate and

showing signs of heat deformation and charring.

      54.    Also in August 2021, a fire occurred at the home of a PHS customer

in Lancaster, Kentucky which was later determined to be caused by overheating

SnapRS 801 switches in that homeowner’s solar energy system.




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         55.   On August 12, 2021, solar installer PHS and Generac participated in a

conference call during which Generac informed PHS it was investigating “bulging

and separation” issues associated with its SnapRS 801 switches and that it was in

the process of developing and testing an updated model of the SnapRS 801 switch

which Generac referred to as the 801A.

         56.   On August 18, 2021, a fire occurred at the home of a PHS customer in

Lexington, South Carolina where the cause of the fire was determined to be a

melting and/or exploding SnapRS 801 switch.

         57.   On or about August 19, 2021, Jeffrey McAndrew, Generac’s Director

of Sales for its East Region, informed PHS that Generac had found that SnapRS

801 switches were overactive by turning on and off repeatedly when they should

have been in either the “on” or “off” state, which condition generated heat in the

SnapRS 801 switches causing them to “bubble out” and that the issue had been

caused by the SnapRS 801 switches “turning on and off repeatedly.”

         58.   Generac reassured PHS that a firmware update would remedy the

issue.

         59.   The firmware update could only occur for those residential solar

energy systems connected to the internet.




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      60.      Generac knew that during the firmware update, there would be

adverse effects on the overall operation and energy production of residential solar

energy systems equipped with the defective SnapRS 801 switches.

      61.      Despite Generac’s knowledge, Generac failed to disclose to Plaintiff

and Class Members any of the adverse effects the firmware update would have on

the production of energy from Plaintiff’s and Class Members’ solar energy

systems.

      62.      Despite Generac’s representations to PHS that the firmware update

would remedy the issue, the SnapRS 801 switches continued to malfunction.

      63.      PHS subsequently discovered that the cause of the decreased energy

production from residential solar energy systems equipped with the SnapRS 801

switches was what the Generac inverter coded on the digital display as a “PVRSS

Lockout” system error.

      64.      The PVRSS Lockout was determined to be caused when a PV link or

inverter detected a malfunctioning or overheating SnapRS 801 switch in an array

of PV modules (solar panels). When this occurred, the entire array of panels went

into “lockout mode” and the array did not generate any energy until the lockout

was cleared.




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      65.    Clearing a PVRSS Lockout required the homeowner to visually

inspect the digital display on the inverter to be informed of the error and a service

technician to replace the SnapRS 801 switch on the array that is in lockout mode.

      66.    In the spring of 2022, due to the continued incidents involving the

SnapRS 801 switches and potential safety hazards to homeowners and their

property, solar installer PHS inquired of Generac as to whether a report had been

filed with the Consumer Product Safety Commission (“CPSC”) or other

government agency, and whether a product recall had been initiated.

      67.    In response, Generac represented that it had submitted a report to the

CPSC, but that it did not believe any corrective action was necessary, including a

product recall.

      68.    On May 22, 2022, PHS requested via email a copy of the report that

Generac allegedly had filed with the CPSC; Generac refused to provide that

information to PHS.

      69.    In June 2022, Generac acknowledged a near 50% failure rate in the

SnapRS 801 switches.

      70.    To date, the vast majority of Class Members remain unaware of the

defects and potential safety hazards of the SnapRS 801 switches, including

decreased energy production and the potential for damage to equipment and

property because Generac has failed to issue a general communication to all


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homeowners who had solar energy systems equipped with the SnapRS 801

switches.

      71.    Generac knew that the SnapRS 801 switch was defective as early as

April 2021 and continued to manufacture and market the SnapRS 801 switch,

incorporating the SnapRS 801 switch as a component in their PWRcell solar

energy and battery storage systems.

      72.    Generac knew that the SnapRS 801 switch was defective as early as

April 2021 and failed to notify Plaintiff and Class Members that the SnapRS 801

switch was defective and could impede the functioning of Plaintiff’s and Class

Members’ residential solar energy systems and posed a significant safety hazard.

      73.    Generac knew that the SnapRS 801 switch was defective as early as

April 2021 and failed to timely provide replacement switches that would allow

Plaintiff’s and Class Members’ residential solar energy systems to function

properly, efficiently, and safely.

      74.    Defendant’s unlawful conduct described herein caused decreased

energy production in Plaintiff’s and the Class Members’ solar energy systems

resulting in higher energy bills and in some cases damage to the solar energy

systems and property. In addition, Plaintiff and Class Members have incurred

costs for replacing the SnapRS 801 switches when those costs were not covered by

Defendant.


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      75.    Therefore, Plaintiff and Class Members suffered ascertainable losses

and actual damages as a direct and proximate result of Defendant’s unlawful

practices including 1) the costs for replacing the SnapRS 801 switches in their

residential solar energy systems when those costs were not covered by Generac; 2)

the costs for troubleshooting Plaintiff’s and Class Members’ residential solar

energy systems when the defective SnapRS 801 switches caused other components

to turn off or malfunction; 3) electrical bills incurred as a result of their residential

solar energy systems not functioning properly and at full efficiency as a result of

the SnapRS 801 switches decreasing or completely impeding energy production

from Plaintiff’s and Class Members’ residential solar energy systems; and 4)

damage to Plaintiff’s and Class Members' residential solar energy systems and/or

property as a result of the SnapRS 801 switches melting, deforming, and/or

catching fire.

      76.    Generac has refused to compensate Plaintiff and Class Members for

electrical bills incurred as a result of their residential solar energy systems not

functioning properly and at full efficiency when these solar energy systems, if

performing properly, would have generated energy for most, if not all, the

Plaintiff’s and Class Members’ home energy needs.

      77.    Generac has refused to compensate Plaintiff and Class Members for

such electric bills because, according to Generac, a consumer’s electric bills


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arising from decreased energy production caused by malfunctioning Generac

SnapRS 801 switches is not covered by the warranty.

              TOLLING OF THE STATUTE OF LIMITATIONS

Discovery Rule Tolling

      78.    Plaintiff and Class Members could not have discovered through

reasonable diligence that their Generac SnapRS 801 switches were defective

within the time period of any applicable statutes of limitation.

      79.    Therefore, Plaintiff’s claims and the claims of all Class Members did

not

accrue until they discovered that the SnapRS 801 switches impeded energy

production from their residential solar energy systems and/or damage to

equipment and/or property.

Fraudulent Concealment Tolling

      80.    Throughout the time period relevant to this action, Generac concealed

and failed to disclose to Plaintiff and Class Members vital information about the

defects and safety hazards associated with the SnapRS 801 switch. Generac kept

Plaintiff and Class Members ignorant of vital information essential to the pursuit of

their claims, and as a result, neither Plaintiff nor the other Class Members could

have discovered the defects and safety hazards, even upon reasonable exercise of

diligence.


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      81.    Prior to the date of this Complaint, Generac knew of the defects and

safety hazards of the SnapRS 801 switch, but continued to manufacture, market,

distribute, and/or sell the SnapRS 801 switches to Plaintiff and Class Members. In

doing so, Generac concealed from or failed to notify Plaintiff and Class Members

about the defects and safety hazards of the SnapRS 801 switch.

      82.    Plaintiff and Class Members justifiably relied on Generac to disclose

these material defects in SnapRS 801 switches which they purchased as part of

their residential solar energy systems, as such defects were hidden and not

discoverable through reasonable efforts by Plaintiff and Class Members.

      83.    Thus, the running of all applicable statutes of limitation have been

tolled and suspended with respect to any claims that the Plaintiff and the other

Class Members have sustained as a result of the SnapRS 801’s defects and safety

hazards by virtue of the fraudulent concealment doctrine.

Estoppel

      84.    Generac was under a continuous duty to disclose to Plaintiff and the

other Class Members the existence of the defects and safety hazards of the SnapRS

801 switch, which substantially affects the functionality, efficiency and safety of

their residential solar energy systems.

      85.    Generac actively concealed the defects and safety hazards of the

SnapRS 801 switch, along with the resulting adverse effects of those defects and


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safety hazards on the Plaintiff’s and Class Members’ residential solar energy

systems and property.

      86.    Plaintiff and Class Members reasonably relied upon Generac knowing

and actively concealing these material facts.

      87.    Generac is accordingly estopped from relying on any statute of

limitations in defense of this action.

                        CLASS ACTION ALLEGATIONS

      88.     Pursuant to Fed. R. Civ. P. 23, Plaintiff brings this action on behalf of

himself and on behalf of a Nationwide Class, defined as:

                                  Nationwide Class

             All persons and entities within the United States
             (including its Territories and the District of Columbia)
             that purchased and had installed a residential solar energy
             system equipped with Generac SnapRS Rapid Shutdown
             Inline Disconnect switches (the SnapRS 801 switch).

      89.    In the alternative to the Nationwide Class, and pursuant to Federal

Rules of Civil Procedure Rule 23(5), Plaintiff seeks to represent the following

State Class as well as any subclasses or issue classes as Plaintiff may propose

and/or the Court may designate at the time of class certification:

                                    Florida Class

             All persons and entities within the State of Florida that
             purchased and had installed a residential solar energy
             system equipped with Generac SnapRS Rapid Shutdown
             Inline Disconnect switches (the SnapRS 801 switch).
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      90.    Excluded from all classes are Generac, as well as Generac’s

employees, affiliates, officers, and directors, including franchised dealers, any

individuals who experienced physical injury as a result of the defect at issue in this

litigation, and the judge and court staff to whom this case is assigned.

      91.    Plaintiff reserves the right to modify and/or add to the

Nationwide and/or State Class prior to class certification.

Fed. R. Civ. P. 23(a) Prerequisites

      92.    Numerosity. Both the Nationwide and State Class are so numerous

that joinder of all members is impracticable. Although the precise number of Class

Members is unknown and is within the exclusive control of Generac and its

authorized dealers, Generac has sold hundreds of thousands of SnapRS 801

switches in the United States, including tens of thousands in the State of Florida.

      93.    Commonality. The Claims of Plaintiff and the Nationwide Class and

State Class involve common questions of fact and law that will predominate over

any individual issues. These common questions include, but are not limited to:

             a.    Whether the SnapRS 801 switches that Generac designed,

      manufactured, marketed, distributed, and/or sold contained a defect that

      caused abnormal shutdown of energy production from PV modules (solar

      panels) and/or arrays of PV modules;



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            b.     Whether the SnapRS 801 switches that Generac designed,

      manufactured, marketed, distributed, and/or sold contained a defect that

      caused the switches to melt, deform, and/or catch fire;

            c.     Whether Generac knew or should have known of these defects

      in the SnapRS 801 switches at the time of designing, marketing, distributing,

      and/or selling the SnapRS 801 switches;

            d.     Whether Generac knew or should have known that its

      representations regarding the functioning, efficiency and safety of its

      PWRcell solar energy and battery storage systems, which included the

      SnapRS 801 switches as components, were false at the time of designing,

      marketing, distributing, and/or selling the SnapRS 801 switches;

            e.     Whether the defects and safety hazards of the SnapRS 801

      switches constitute material facts that reasonable consumers would have

      considered in deciding whether to purchase Generac PWRcell solar energy

      and battery storage systems equipped with the SnapRS 801 switches;

            f.     Whether Generac’s conduct violates consumer protection

      statutes and other laws as asserted herein;

            g.     Whether Generac had a duty to disclose the defects and safety

      hazards of the SnapRS 801 switches to Plaintiff and the other Class

      Members;


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            h.     Whether Generac omitted, actively concealed, and/or failed to

      disclose material facts about the SnapRS 801 switches;

            i.     Whether concealment of the defects and safety hazards of the

      SnapRS 801 switches would have induced reasonable consumers to act to

      their detriment by purchasing solar energy systems equipped with the

      SnapRS 801 switches;

            j.     Whether Plaintiff and the other Class Members are entitled to

      equitable relief, including, but not limited to, restitution and injunctive relief;

      and

            k.     Whether Plaintiff and the other Class Members are entitled to

      damages and other monetary relief and, if so, in what amount.

      Typicality. Plaintiff’s claims are typical of Nationwide Class and State

Class Members’ claims. As described herein, Plaintiff and the other Class

Members purchased SnapRS 801 switches as part of their Generac PWRcell solar

energy and battery storage systems and these SnapRS 801 switches were designed,

manufactured, marketed, distributed, and/or sold by Generac.

      94.   Plaintiff and the other Class Members have been damaged by

Generac’s misconduct. Plaintiff and the other Class Members have incurred

similar or identical losses related to the SnapRS 801 switches. Furthermore, the




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factual bases of Generac’s misconduct are common to all Class Members and

represent a common thread of misconduct resulting in injury to all Class Members.

      95.    Adequacy. Plaintiff will fully and adequately represent and protect

the interests of the Nationwide Class and State Class because they share common

interests with Class Members as a result of Generac’s misconduct.

      96.    Plaintiff has retained counsel with experience in complex,

commercial, multiparty, mass tort, consumer, and class action litigation. Plaintiff’s

counsel have prosecuted dozens of complex class actions, including those

involving defective products, in state and federal courts across the country.

      97.    Plaintiff and his counsel are committed to vigorously prosecuting this

action on behalf of the Classes and have the financial resources to do so. Neither

Plaintiff nor his counsel have interests adverse to those of the Classes.

Fed. R. Civ. P. 23(b) Prerequisites

      98.     Predominance. Questions of law and fact common to the

Nationwide and State Class, including those listed above, predominate over

questions affecting individual members, and a class action is superior to other

available methods for the fair and efficient adjudication of this controversy.

Individual damages on the matter can be readily calculated. Thus, the question

of individual damages will not predominate over legal and factual questions

common to the Nationwide Class and State Class. Additionally, Generac has acted


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or refused to act on grounds that apply generally to the Nationwide Class and State

Class, so that final injunctive relief and/or corresponding declaratory relief is

appropriate with respect to the Nationwide Class and State Class.

      99.    Superiority. Generac’s scheme treated consumers as a Class to be

uniformly deceived. A class action is superior to all other available methods for

the fair and efficient adjudication of this controversy. Plaintiff and Class Members

have all suffered and will continue to suffer economic harm and damage as a result

of Generac’s wrongful conduct, which was directed toward Class Members and the

public as a whole, rather than specifically or uniquely against any individual Class

Members. Absent a class action, most Class Members would likely find the cost of

litigating their claims prohibitively high and would therefore have no effective

remedy at law. Because of the relatively small size of the individual Class

Members’ claims, it is likely that only a few Class Members could afford to seek

legal redress for Generac’s misconduct. Absent a class action, Class Members will

continue to incur damages, and Generac’s misconduct will continue without

effective remedy.

      100. Declaratory and Injunctive Relief. Class wide declaratory,

equitable, and injunctive relief is appropriate under Rule 23(b)(1) and/or (b)(2)

because Generac has acted on grounds that apply generally to the Class, and

inconsistent adjudications with respect to Generac’s liability would establish


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incompatible standards and substantially impair or impede the ability of Class

members to protect their interests. Class wide relief and Court supervision under

Rule 23 assures fair, consistent, and equitable treatment and protection of all Class

Members, and uniformity and consistency in Generac’s discharge of its duties to

perform corrective action regarding the defective SnapRS 801 switches.

                                CAUSES OF ACTION

                                 COUNT I
  (Violation of Magnuson Moss Warranty Act, 15 U.S.C. §§ 2301, et seq. on
                      behalf of the Nationwide Class)

         101. Plaintiff incorporates by reference all material facts in this Complaint

as though fully set forth herein.

         102. Plaintiff brings this Count on behalf of himself and the Nationwide

Class.

         103. This Court has jurisdiction to decide claims brought under the

Magnuson-Moss Warranty Act (for the purpose of this Count, the “Act”) by virtue

of 28 U.S.C. § 1332(a)-(d).

         104. Defendant is a “supplier” and “warrantor” within the meaning of 15

U.S.C. § 2301(4) and (5).

         105. Plaintiff and the other Class Members are “consumers” who

purchased “consumer products” for purposes of 15 U.S.C. § 2301(1) and (3)




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because they purchased the SnapRS 801 switches for personal, family, or

household purposes.

      106. The SnapRS 801 switches are “consumer products” within the

meaning of the Act. 15 U.S.C. § 2301(1).

      107. The Act provides a cause of action for any consumer who is damaged

by the failure of a warrantor to comply with a written or implied warranty. 15

U.S.C. § 2310(d)(1).

      108. The amount in controversy of the Plaintiff’s and Class Members’

individual claims meets or exceeds $25.00 in value. In addition, the amount in

controversy meets or exceeds $50,000 in value (exclusive of interest and costs) on

the basis of all claims to be determined in this suit.

      109. Under the Act, damaged “consumers” have a private cause of action

against any warrantor that fails to comply with a written or implied warranty.

      110. The terms of written warranties and implied warranty became part of

the basis of the bargain between Plaintiff and all other Class Members when

deciding to purchase a a solar energy and battery storage system equipped with the

SnapRS 801 switches.

      111. Defendant breached these written and implied warranties as described

in detail above.




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      112. The SnapRS 801 switches share common design defects by turning on

and off repeatedly when the switches should be either in the “on” or “off” state,

which condition generates heat in the SnapRS 801 switches causing them to melt,

deform, and/or catch fire during normal use.

      113. Defendant has refused to compensate Plaintiff and Class Members for

electric bills arising from decreased energy production from their solar energy

systems caused by malfunctioning SnapRS 801 switches because, according to

Defendant, these bills arising from malfunctioning SnapRS 801 switches are not

covered by the warranty.

      114. Plaintiff and each of the other Nationwide Class Members have had

sufficient direct dealings with either Defendant or its agents (including Generac

authorized dealers or solar contractors—the companies that installed their

residential solar energy systems) to establish privity of contract between

Defendant, on the one hand, and Plaintiff and each of the other Nationwide Class

Members, on the other hand. Nonetheless, privity is not required here because

Plaintiff and each of the other Nationwide Class members are intended third-party

beneficiaries of contracts between Defendant and its authorized dealers, and

specifically, of Defendant’s implied warranties. The authorized dealers (solar

contractors) were not intended to be the ultimate consumers of the SnapRS 801

switches and have no rights under the warranty agreements provided with the


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PWRcell solar energy and battery storage systems which included the SnapRS 801

switches; the warranty agreements were designed for and intended to benefit the

consumers only.

      115. Affording Defendant a reasonable opportunity to cure its breach of

written warranties would be unnecessary and futile here. At the time of sale of

each PWRcell solar energy and battery storage system equipped with the SnapRS

801 switches after April 2021 and possibly before, Defendant knew, should have

known, or was reckless in, not knowing of its misrepresentations and omissions

concerning the SnapRS 801 switches to perform as warranted, but nonetheless

failed to rectify the situation and/or disclose the defects and safety hazards. Under

the circumstances, the remedies available under any informal settlement procedure

would be inadequate and any requirement for Plaintiff to resort to an informal

dispute resolution procedure and/or afford Defendant a reasonable opportunity to

cure its breach of warranties is excused and thereby deemed satisfied.

      116. As a direct and proximate result of Defendant’s breach of the written

warranties and the implied warranty of merchantability, Plaintiff and Class

Members have suffered damages in an amount to be determined at trial.

      117. Plaintiff, individually and on behalf of the Nationwide Class, seeks all

damages permitted by law, including compensation for 1) the costs for replacing

the SnapRS 801 switches in their residential solar energy systems when those costs


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were not covered by Generac; 2) the costs for troubleshooting Plaintiff’s and Class

Members’ residential solar energy systems when the defective SnapRS 801

switches caused other components to turn off or malfunction; 3) electrical bills

incurred as a result of their residential solar energy systems not functioning

properly and at full efficiency as a result of the SnapRS 801 switches decreasing or

completely impeding energy production from Plaintiff’s and Class Members’

residential solar energy systems; and 4) damage to Plaintiff’s and Class Members'

residential solar energy systems and/or property as a result of the SnapRS 801

switches melting, deforming, and/or catching fire, along with all other incidental

and consequential damages, statutory attorney fees, and all other relief allowed by

law.

       118. Plaintiff and the Nationwide Class seek compensatory damages, court

costs and attorneys’ fees and any other just and proper relief available under the

Act.

                                COUNT II
        (Fraudulent Concealment on behalf of the Nationwide Class or, in the
                         alternative, the Subclass)

       119. Plaintiff incorporates by reference all material facts in this Complaint

as though fully set forth herein.

       120. Plaintiff brings this Count on behalf of himself and the Nationwide

Class or, in the alternative, on behalf of the Subclass.


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      121. As alleged above, Defendant concealed or failed to disclose material

facts concerning the defects and safety hazards of the SnapRS 801 switches in

order to defraud and mislead Plaintiff and Class Members about the ability to

function and safety of the SnapRS 801 switches.

      122. Defendant failed to disclose to Plaintiff and Class Members that

SnapRS 801 switches had common design defects by turning on and off repeatedly

when the switches should be either in the “on” or “off” state, which condition

generates heat in the SnapRS 801 switches causing them to melt, deform, and/or

catch fire during normal use.

      123. Defendant knew that these material facts regarding the functioning

and safety of the SnapRS 801 switches should be disclosed.

      124. Defendant knew its concealment or failure to disclose these material

facts would induce Plaintiff and Class Members to act by purchasing—through

solar contractors—Generac’s PWRcell solar energy and battery storage systems

equipped with SnapRS 801 switches. Defendant had a duty to disclose these

material facts before Plaintiff’s and Class Members purchased their solar energy

systems.

      125. Once Plaintiff and Class Members had solar energy systems equipped

with SnapRS 801 switches installed on their homes and Defendant found out that




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the switches malfunctioned, Defendant failed to notify Plaintiff and Class

Members of the defects and safety hazards of the SnapRS 801 switches.

      126. Defendant again had a duty to disclose these material facts.

      127. Defendant’s concealment or failure to disclose the design defects

common to SnapRS 801 switches was material to consumers because the SnapRS

801 switches affected the ability to function and safety of Plaintiff’s and Class

Members’ solar energy systems.

      128. Plaintiff and Class Members detrimentally relied on Defendant’s

fraudulent concealment, and Defendant intended for this reliance. Plaintiff and

Class members had no way of discerning that Defendant was, in fact, deceiving

them because the SnapRS 801 switches were sophisticated technology and the

defects therein could only be discerned by solar contractors after significant

troubleshooting, and not consumers.

      129. Defendant’s plan to market and sell their defective SnapRS 801

switches and then fraudulently concealing the defects and safety hazards reveals a

corporate culture that emphasized sales and profits over integrity and public safety.

      130. As a direct and proximate result of Defendant’s fraudulent

concealment, Plaintiff and Class Members sustained damages: the SnapRS 801

switches have caused decreased energy production and are subject to safety




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hazards including deforming, melting and/or catching fire that can damage their

solar energy systems and property.

        131. Plaintiff demands judgment against Defendant and requests

compensatory damages, together with interest, costs of suit, attorneys’ fees, and

such further relief as the Court deems equitable and just.

        132. Plaintiff reserves the right to seek punitive damages in the future after

engaging in discovery.

                                  COUNT III
           (Common-Law Fraud on behalf of the Nationwide Class or, in the
                        alternative, the Subclass)

        133. Plaintiff incorporates by reference all material facts in this Complaint

as though fully set forth herein.

        134. Plaintiff brings this Count on behalf of himself and the Nationwide

Class or, in the alternative, on behalf of the Subclass.

        135. As alleged above, Defendant made false statements of fact to solar

contractors and the public that Defendant’s PWRcell solar energy and battery

storage systems equipped with the SnapRS 801 switches were fit for their intended

purpose and were of marketable quality.

        136. Defendant knew that the statements were false at the time they were

made.




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      137. Defendant made the false statements for the purpose of inducing

Plaintiffs and Class Members to purchase—through solar contractors—

Defendant’s PWRcell solar energy and battery storage systems equipped with

SnapRS 801 switches.

      138. Plaintiff and Class Members acted in reliance thereon and purchased

Defendant’s PWRcell solar energy and battery storage systems equipped with

SnapRS 801 switches.

      139. As a direct and proximate result of Defendant’s fraud, Plaintiff and

Class Members sustained damages. The SnapRS 801 switches have caused

decreased energy production in Plaintiff’s and Class Member’s solar energy

systems and are subject to safety hazards including deforming and melting that can

damage their solar energy systems and property.

      140. Plaintiff demands judgment against Defendant and requests

compensatory damages, together with interest, costs of suit, attorneys’ fees, and

such further relief as the Court deems equitable and just.

      141. Plaintiff reserves the right to seek punitive damages in the future after

engaging in discovery.

                                    COUNT IV
       (Fraudulent Misrepresentation on behalf of the Nationwide Class or, in
                        the alternative, the Subclass)




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        142. Plaintiff incorporates by reference all material facts in this Complaint

as though fully set forth herein.

        143. Plaintiff brings this Count on behalf of himself and the Nationwide

Class or, in the alternative, on behalf of the Subclass.

        144. As alleged above, Defendant made false statements of material fact to

solar contractors and the public that Defendant’s PWRcell solar energy and battery

storage systems equipped with the SnapRS 801 switches were fit for their intended

purpose and were of marketable quality.

        145. Defendant knew that the statements were false at the time they were

made.

        146. Defendant made the false statements for the purpose of inducing

Plaintiffs and Class Members to purchase—through solar contractors—

Defendant’s PWRcell solar energy and battery storage systems equipped with

SnapRS 801 switches.

        147. As a direct and proximate result of Defendant’s fraud, Plaintiff and

Class Members sustained damages. The SnapRS 801 switches have caused

decreased energy production in Plaintiff’s and Class Member’s solar energy

systems and are subject to safety hazards including deforming, melting and/or

catching fire that can damage their solar energy systems and property.




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      148. Plaintiff demands judgment against Defendant and requests

compensatory damages, together with interest, costs of suit, attorneys’ fees, and

such further relief as the Court deems equitable and just.

      149. Plaintiff reserves the right to seek punitive damages in the future after

engaging in discovery.

                                     COUNT V
        (Negligent Misrepresentation on behalf of the Nationwide Class or, in
                        the alternative, the Subclass)

      150. Plaintiff incorporates by reference all material facts in this Complaint

as though fully set forth herein.

      151. Plaintiff brings this Count on behalf of himself and the Nationwide

Class or, in the alternative, on behalf of the Subclass.

      152. In the alternative to the facts supporting a claim of common-law fraud

and fraudulent misrepresentation, Defendant made material facts that Defendant

believed to be true about the ability to function and safety of the SnapRS 801

switches.

      153. Defendant was negligent in making false statements to solar

contractors and the public that Generac’s PWRcell solar energy and battery storage

systems equipped with the SnapRS 801 switches were fit for their intended

purpose and were of marketable quality.

      154. Defendant should have known that the statements were false.


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      155. Defendant intended to induce Plaintiff and Class Members to rely on

the misrepresentations and omissions by purchasing PWRcell solar energy and

battery storage systems equipped with the SnapRS 801 switches.

      156. Plaintiff and Class Members acted in justifiable reliance on the

misrepresentations and omissions. As a direct and proximate result of Defendant’s

negligent misrepresentations and omissions, Plaintiff and Class Members sustained

damages: the SnapRS 801 switches have caused decreased energy production

from Plaintiff’s and Class Members’ solar energy systems and the switches are

subject to safety hazards including deforming, melting and/or catching fire that can

damage their solar energy systems and property.

      157. Plaintiff and Class Members have paid for 1) the costs for replacing

the SnapRS 801 switches in their residential solar energy systems when those costs

were not covered by Generac; 2) the costs for troubleshooting Plaintiff’s and Class

Members’ residential solar energy systems when the defective SnapRS 801

switches caused other components to turn off or malfunction; 3) electrical bills

incurred as a result of their residential solar energy systems not functioning

properly and at full efficiency as a result of the SnapRS 801 switches decreasing or

completely impeding energy production from Plaintiff’s and Class Members’

residential solar energy systems; and 4) damage to Plaintiff’s and Class Members'




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residential solar energy systems and/or property as a result of the SnapRS 801

switches melting, deforming, and/or catching fire.

      158. Plaintiff demands judgment against Defendant and requests

compensatory damages, together with interest, costs of suit, attorneys’ fees, and

such further relief as the Court deems equitable and just.

      159. Plaintiff reserves the right to seek punitive damages in the future after

engaging in discovery.

                                    COUNT VI
           (Unjust Enrichment on behalf of the Nationwide Class or, in the
                          alternative, the Subclass)

      160. Plaintiff incorporates by reference all material facts in this Complaint

as though fully set forth herein.

      161. Plaintiff brings this Count on behalf of himself and the Nationwide

Class or, in the alternative, on behalf of the Subclass.

      162. Plaintiff and Class Members conferred a benefit on Defendant by

purchasing—through solar contractors—Generac’s PWRcell solar energy and

battery storage systems equipped with SnapRS 801 switches.

      163. Defendant voluntarily accepted and retained the benefit conferred by

Plaintiff and Class Members in the form of profits from selling its PWRcell solar

energy and battery storage systems equipped with SnapRS 801 switches.




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      164. The benefits that Defendant received and retained are unjust, and

inequity has resulted.

      165. Defendant knowingly accepted the unjust benefits of its misconduct.

      166. It is inequitable and unconscionable for Defendant to retain those

unjust benefits without paying value to Plaintiff and the Class Members.

      167. As a result of Defendant’s misconduct, the amount of its unjust

enrichment should be disgorged and returned to Plaintiff and the other Class

Members, in an amount to be proven at trial.

                                PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays that this case be certified and maintained as a class

action pursuant to one or more of the proposed Classes, as they may be modified or

amended, and respectfully requests this Court:

      A.     Determine that the claims alleged herein may be maintained as a class

      action under Rule 23 of the Federal Rules of Civil Procedure, and issue an

      order certifying one or more Classes as defined above;

      B.     Appoint Plaintiff as the representative of the Classes and his counsel

      as Class counsel;

      C.     Award damages, including compensatory and exemplary damages, to

      Plaintiff and all other Class Members;

      D.     Award Plaintiffs and Class Members actual damages sustained;


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       E.     Award Plaintiff and Class Members such additional damages, over

       and above the amount of their actual damages, which are authorized and

       warranted by law;

       F.     Grant restitution to Plaintiffs and Class members and require

       Defendant to disgorge inequitable gains;

       G.     Grant appropriate injunctive and/or declaratory relief, including,

       without limitation, an order that requires Defendant to recall and/or replace

       the SnapRS 801 switches, or, at a minimum, to provide Plaintiff and Class

       members with appropriate curative notice regarding the existence and cause

       of the defect;

       H.     Award Plaintiff and Class members punitive damages if discovery

       merits such an award;

       I.     Award Plaintiff and Class members their reasonable attorneys’ fees

       and reimbursement of all costs for the prosecution of this action; and

       J.     Award such other relief as this Court deems just and appropriate.

                                    JURY DEMAND

       Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiffs hereby demand

a trial by jury on all issues so triable.

Dated: October 28, 2022

                                            By:   /s/ Matthew L. Baldwin
                                                  Matthew L. Baldwin
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                         CERTIFICATE OF SERVICE

      I, the undersigned hereby, certify that on October 28, 2022 I electronically

filed the foregoing document with the Clerk of the Court using the CM/ECF system

which will send notification of such filing to the CM/ECF participants registered to

receive service.


                                By:   /s/ Matthew L. Baldwin
                                      Matthew L. Baldwin
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